
The People of the State of New 
	York, Respondent,againstWilson Anazco, Defendant-Appellant. 




In consolidated appeals, defendant appeals from (1) a judgment of the Criminal Court of the City of New York, New York County (Kate Paek, J.), rendered July 10, 2017, convicting him, upon a plea of guilty, of unlawful possession of marijuana, and imposing sentence, and (2) a judgment of the same court (Kate Paek, J. at plea; David Frey, J. at sentencing), rendered September 17, 2018, convicting him, upon a plea of guilty, of criminal sale of marijuana in the fourth degree, and imposing sentence.




Per Curiam.
Judgment of conviction under docket number 2017NY012539 (Kate Paek, J. at plea; David Frey, J. at sentencing), rendered September 17, 2018, affirmed. Appeal from judgment of conviction under docket number 2017NY016905 (Kate Paek, J.), rendered July 10, 2017, dismissed, as academic. 
Defendant claims that defense counsel was ineffective because he failed to make a timely speedy trial motion. On the record now before us, the People demonstrated sufficient excludable time to establish compliance with CPL 30.30. Moreover, defendant affirmatively states that he does not seek a remand for a further factual inquiry on the speedy trial claim (see People v Grey, 257 AD2d 685, 687 [1999]). The only relief defendant requests is dismissal of the accusatory instrument rather than a remand, and he expressly requests that this Court affirm the conviction if it does not grant a dismissal. Since dismissal is not warranted, we affirm.
Under CPL 160.50(5), effective August 28, 2019, defendant's conviction for unlawful possession of marijuana (see Penal Law § 221.05) became a nullity by operation of law, independently of any appeal, and without requiring any action by this Court. Thus this appeal from said conviction must be dismissed as academic (see People v Taite, 65 Misc 3d 137[A], 2019 NY Slip Op 51671[U] [App Term, 1st Dept 2019].
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur
Decision Date: January 29, 2020










